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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )               8:06CR71
                      Plaintiff,                    )
                                                    )
       vs.                                          )               ORDER
                                                    )
GUSTAVO SAUCEDO-BELTRAN,                            )
MARIO VALENZUELA-CENTENO and                        )
ROSARIO RAMIREZ-MORENO,                             )
                                                    )
                      Defendants.                   )
       This matter is before the court on the motion for an extension of time by defendant
Rosario Ramirez-Moreno (Ramirez-Moreno) (Filing No. 24). Ramirez-Moreno seeks additional
time in which to file pretrial motions in accordance with the progression order. Ramirez-
Moreno's counsel represents that Ramirez-Moreno will file an affidavit wherein he consents to
the motion and acknowledges he understands the additional time may be excludable time for
the purposes of the Speedy Trial Act. Upon consideration, the motion will be granted. Further,
the time to file pretrial motions will be extended as to all defendants.
       IT IS ORDERED:
       1.      Defendant Ramirez-Moreno's motion for an extension of time (Filing No. 24) is
granted. All defendants are given until on or before May 12, 2006, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between April 7,
2006 and May 12, 2006, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendants' counsel require additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       2.      The evidentiary hearing tentatively scheduled for 9:00 a.m. on April 24, 2006, is
canceled and will be rescheduled, if necessary, following the filing of any pretrial motions in
accordance with this order.
       DATED this 7th day of April, 2006.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
